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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
   RANDY SMITH, Individually and on              :
   Behalf of All Others Similarly Situated,      :   Civil Action No.: 17-8945(MAS)(DEA)
                                                 :
                          Plaintiff,             :
                                                 :     [PROPOSED] ORDER FOR PRO HAC
                  v.                             :      VICE ADMISSION OF JEREMY A.
                                                 :              LIEBERMAN
   ANTARES PHARMA, INC., ROBERT                  :
   F. APPLE and FRED M. POWELL,                  :
                                                 :
                          Defendants.            :
                                                 :

        This matter having been presented to the Court by Lite DePalma Greenberg, LLC for the

 entry of an Order allowing the appearance pro hac vice of Jeremy A. Lieberman for all purposes

 in the above captioned matter, and the Court having reviewed the Certifications of Bruce D.

 Greenberg and Jeremy A. Lieberman and it appearing that Jeremy A. Lieberman is a partner with

 the firm of firm Pomerantz LLP, located at 600 Third Avenue, New York, NY 10016; and that

 Lite DePalma Greenberg, LLC has agreed to act as local counsel; and for good cause having

 been shown;

        IT IS on this ___________ day of                             , 2018

        ORDERED, that Jeremy A. Lieberman is hereby admitted pro hac vice for all purposes

 of representing Lead Plaintiff, Serghei Lungu in the above entitled action, and it is

        FURTHER ORDERED that, pursuant to Local Rule 101.1(c) Jeremy A. Lieberman

 shall make a payment to the New Jersey Lawyer’s Fund for Client Protection as provided by

 New Jersey Court Rule 1:28-2(a) if they have not already made contributions,

        FURTHER ORDERED that pursuant to Local Rule 101.1(c)(3), Jeremy A. Lieberman

 shall make a payment of $150.00, payable to the Clerk, United States District Court,
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        FURTHER ORDERED that Jeremy A. Lieberman shall be bound by the General and

 Admiralty Rules of the United States District Court for the District of New Jersey, including but

 not limited to the provisions of Local Rule 103.1, Judicial Ethics and Professional

 Responsibility, and the Local Rule 104.1, Discipline of Attorneys; and it is

        FURTHER ORDERED that pursuant to Local Rule 101.1(c), Jeremy A. Lieberman

 shall be deemed to have agreed to take no fee in any tort case in excess of the New Jersey Court

 Contingency Fee Rule, Rule 1:27-7, as amended.

        SO ORDERED:



                                       Honorable Douglas E. Arpertp, U.S.M.J.




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